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                           United States Bankruptcy Court
                                       District of Connecticut
                                                                                                  Filed and Entered
                                                                                                      On Docket
                                                                                                    May 26, 2023


In re:
         Alan E. Waskowicz                                                                  Case Number: 23−20091
         Debtor*                                                                            Chapter: 7




                                    ORDER SCHEDULING STATUS CONFERENCE



      ORDERED: A Status Conference will be held on June 15, 2023 at 11:30 AM at 450 Main Street, 7th Floor
Courtroom, Room 715B, Hartford, CT 06103, to consider and act upon the following matter(s):

      Trustee's Report of Assets in a Chapter 7 Case and Request to Set Deadline for Filing Proofs of Claim. Filed by
Trustee. (Re: Doc #28) ; and it is further


       ORDERED: Counsel for the parties to the matter(s) listed herein, or the parties if not represented by counsel,
shall appear before this Court at the Status Conference .




Dated: May 26, 2023                                                                       BY THE COURT




United States Bankruptcy Court                                                      Tel. (860) 240−3675
District of Connecticut                                                             VCIS* (866) 222−8029
450 Main Street, 7th Floor                                                          * Voice Case Information System
Hartford, CT 06103                                                                  http://www.ctb.uscourts.gov
*For the purposes of this order, "Debtor" means "Debtors" where applicable.
